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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )           No. 4:08-CR-582 CAS
                                                  )
SAID JARABAA,                                     )
                                                  )
               Defendant.                         )

                               MEMORANDUM AND ORDER

       This matter is before the Court on defendant Said Jarabaa’s Motion for Early Termination of

Supervised Release. The motion will be denied without prejudice.

       On March 4, 2010, Jarabaa was sentenced to six months imprisonment to be served on work

release on the charge of violation of 18 U.S.C. § 1962(d), Racketeer Influenced and Corrupt

Organizations (RICO). This sentence was later deemed not executable, and was modified to a

sentence of one day imprisonment followed by a 24 month term of supervised release. As a special

condition, defendant was to participate in the Home Confinement Program for a period of six months.

Defendant successfully completed his six months of home confinement and has been on supervised

release since November 26, 2010.

       The Court finds that defendant’s request for early termination of his supervised release should

be denied without prejudice. Defendant may refile a motion for early termination of supervised

release in six months if he remains in compliance with the terms of supervision.      Accordingly,

       IT IS HEREBY ORDERED that defendant Said Jarabaa’s Motion for Early Termination

of Supervised Release is DENIED without prejudice. [Doc. 723]

       IT IS FURTHER ORDERED that defendant Said Jarabaa may refile a motion for early
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termination of supervised release in six months if he remains in compliance with the terms of

supervision imposed by the Court.




                                              CHARLES A. SHAW
                                              UNITED STATES DISTRICT JUDGE


Dated this 29th day of June, 2011.
